         Case 4:20-cr-00008-CLR Document 19 Filed 03/17/20 Page 1 of 3
                                                                                  FILED
                                                                           U.S. DISTRICT
                                                                               AUGUSTA DIV.

                   IN THE UNITED STATES DISTRICT COURT 20 MAR 17 AM                            01
                  FOR THE SOUTHERN DISTRICT OF GEORGIA

                                                                         CLERK
                                                                              SO.
IN RE:                                           )
                                                 )
COVID-19 PUBLIC HEALTH & SAFETY                 )    Miscellaneous Case No.



                                  STANDING ORDER
                                                      MC120-004
       The Court enters this standing order to address continued court operations in light

of the COVID-19 (coronavirus) pandemic. The Court observes that the President of the

United States has declared a National Emergency throughout the nation in response to

the spread of the coronavirus; the Governor of the State of Georgia has declared a public

health emergency throughout the state in response to the spread of the coronavirus; the

World Health Organization has declared coronavirus a pandemic; and the Center for

Disease Control and Prevention and other public health authorities have advised the

taking of precautions to reduce the possibility of exposure to the virus and slow the spread

of the disease.




       In order to protect public health, including the health of court employees, parties,

and court participants, the Court finds it necessary to adjust its operating procedures. To

reduce the size of public gatherings, minimize travel, and maximize social distancing, the

United States District Courtfor the Southern District of Georgia hereby orders that it shall

remain open for business with the following adjustments to its normal operations:
 Case 4:20-cr-00008-CLR Document 19 Filed 03/17/20 Page 2 of 3



1. Persons falling into one of the following categories shall be denied admittance

   into any division courthouse in the Southern District of Georgia without

   obtaining an exception from the Chief Judge:

      a.     Anyone who has been to or been in close contact with anyone who

      has been to one of the designated Level 3 countries (as now or hereafter

      designated) within the 14 days immediately preceding attempted access to

      the courthouse, which countries presently include China,Iran, South Korea,

      and all European countries;

      b.     Anyone who has been on a cruise within the 14 days immediately

      preceding attempted access to the courthouse;

      c.     Anyone who has been asked to self-quarantine by any healthcare

      provider or who lives with someone who has been asked to self-quarantine;

      d.     Anyone who has been diagnosed with COVID-19(coronavirus)or has

      had contact with anyone who has been so diagnosed; and

      e.     Anyone who, exhibiting any symptoms of illness, is deemed by the

      Court or a Court Security Officer as a public health or safety threat.

2. In addition to the individuals specifically restricted from admittance by

   Paragraph 1, for all proceedings except criminal jury trials, only persons who

   visit the courthouse on official business shall be admitted, unless otherwise

   approved by a District Judge.

3. With regard to criminal cases, the Court finds that the right of defendants in

   criminal cases and the public to a speedier trial during the next 30 days is

   substantially outweighed by the public interest of protecting the health and

   safety of the defendants, case participants, court employees, jurors, and the
        Case 4:20-cr-00008-CLR Document 19 Filed 03/17/20 Page 3 of 3



          public. The ends of justice require the following action. Accordingly, the
          following time period, March 17. 2020 to April 17. 2020. shall be excluded
          under the Speedy Trial Act, 18 U.S.C. §3i6i(h)(7)(A). Although this order shall

          permit any jury trials to be continued during this 30 day period, any defendant

          in a criminal case shall have the right to file a motion for a speedier trial, which

          shall be considered and decided by the judge assigned to the defendant's case.

       To avoid confusion,the Court emphasizes that the following activities shall not be

affected by today's order:

      1. Criminal matters before Magistrate Judges, such as initial appearances,

          arraignments, detention hearings, the issuance of search warrants, and traffic

          court shall continue to take place in the ordinary course.

      2. Grand juries shall continue to meet.

      3. Individualjudges will continue to hold hearings, conferences, and jury or bench

          trials, unless ordered otherwise by the presiding judge.

      4. The Clerk's Office and the United States Probation and Pretrial Services Office

          shall remain open.
                                  ryiL
                             /7
                              '
ORDER ENTERED,this / / day of March, 2020




                                   J. RAND^UUALLyCHIEF JUDGE
                                   UNITEDSTATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF GEORGIA
